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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

LITTLE ROCK SCHOOL DISTRICT                                                           PLAINTIFF

VS.                                  CASE NO. 4:82-CV-00866 DPM

PULASKI COUNTY SPECIAL SCHOOL
DISTRICT, ET AL.                                                                 DEFENDANTS

EMILY MCCLENDON, ET AL.                                                         INTERVENORS

      INTERVENORS’ MOTION CONCERNING PARTICIPATION BY REMOTE MEANS

         Come the Intervenors, by and through their attorneys Austin Porter Jr., d/b/a PORTER

LAW FIRM, John W. Walker, P.A., and Robert Pressman, Attorney at Law, and for their

motion seeking permission from the Court to allow participation by remote means, they state the

following:

         1.    The World is experiencing a health crisis like never seen before in recent times in

dealing with the COVID-19 pandemic.

         2.    As of June 24, 2020, it was reported that worldwide, there have been 9,408,757

people infected with the coronavirus, with 2,381,538 infected in the United States.

         3.    Also, as of June 24, 2020, there have been 482,162 lives that have been lost

worldwide, while in the United States, there have been 121,979 people who have died from this

virus.

         4.    In the State of Arkansas, as of June 24, 2020, there have been 17,375 confirmed

cases of the coronavirus, with 240 deaths reported. Many states, especially in the south, are

experiencing increase in positive cases of this virus, with Arkansas being no exception.




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       5.      On June 24, 2020, it was reported that Arkansas experienced its third highest total

for COVID-19 infections, with 697 confirmed positive cases in one day.

       6.      To say that this disease is serious is an understatement.

       7.      The schedule in this case provides for a Pretrial Conference on July 7, 2020, and

the trial of this matter to begin on July 14, 2020. Robert Pressman had planned to be present during

the trial of this matter, but due to the ongoing pandemic, that has taken a turn in the wrong

direction, he has reached the unfortunate conclusion, after consulting with his family, that he will

not be able to physically attend these all important hearings.

       8.      Mr. Pressman is 79 years old, and in order for him to make the trip to Little Rock,

Arkansas, he would have traverse through three (3) airports, taking two (2) flights, coming and

going, and staying in a hotel. With so many people not heeding the advice of the health experts,

the number of infections are on the rise, and the projected death total is expected to surpass 130,000

by August 1, 2020.

       9.      Austin Porter Jr. has worked on civil rights cases for the past thirty-three (33) years,

and has worked extensively in the case at bar. With the unfortunate passing of John W. Walker,

who served as lead counsel for the intervenors, Mr. Porter has assumed the role of lead counsel.

       10.     Mr. Pressman’s involvement in the case at bar has been extensive and valuable, and

he brings with him a wealth of knowledge about this case, than any other lawyer involved.

       11.     Mr. Porter worked for John W. Walker, P. A., from 1991 until May 1997, and while

employed with Mr. Walker, had extensive involvement in the case at bar. Since leaving John W.

Walker, P.A., Mr. Porter continued his involvement in this case, participating in the 2010 hearing

before Judge Miller regarding NLRSD and PCSSD issues, and participating in the JNPSD matter

in 2017 and 2018.



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          12.   Mr. Porter has extensive courtroom experience, having tried over 150 jury trials,

both in federal and state courts, and countless bench trials. Mr. Porter’s courtroom experience far

exceeds that of Mr. Pressman, and maybe the other lawyers involved. Also, Mr. Porter has litigated

several cases before the Eighth Circuit Court of Appeals, with several reported opinions to his

credit.

          13.   Nevertheless, Mr. Pressman brings an added element to the Intervenors’ case with

the extensive knowledge that he has warehoused that cannot be matched by any other lawyer, and

will greatly enhance Mr. Porter, as lead counsel, in representing the interests of the Intervenors.

          14.   Robert Pressman first appeared in a hearing in this case in May 1996 before The

Honorable Susan Webber Wright. Mr. Walker was in St. Louis for an appellate argument.

          15.   Mr. Pressman has an extensive experience in dealing with school desegregation

cases, having first appeared in a federal district court in the Northern District of Mississippi in

1967, while a member of the Civil Rights Division of the Department of Justice. His involvement

in each realm continued thereafter.

          16.   Mr. Pressman later appeared in court in this case with Mr. Walker during its

assignments to Judge Susan Wright, Judge Billy Roy Wilson, and Judge Brian Miller. There was

related out-of-court work in each instance. Mr. Pressman’s work concerning the 2010 PCSSD

hearing before Judge Miller included: propounding discovery, studying the results, responding to

discovery, examining witnesses, and preparing findings of fact.

          17.   Since 2017, Mr. Pressman has again had a very active role in the case at bar. With

Mr. Walker’s passing both Mr. Pressman’s and Mr. Porter’s roles have significantly increased.

          18.   Mr. Pressman has been extensively involved in responding to motions, and drafting

motions and briefs, reviewing discovery responses, including 15,000 plus pages from PCSSD, and



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playing a major role in drafting the intervenors’ Pre-Trial Conference Information Sheet, which

was filed while Mr. Porter was in a week long jury trial in the case of Doris R. Smith v. Department

of Finance and Administration, United States District Court No. 4:17-CV-00857 JM.

       19.      Mr. Pressman’s involvement in other desegregation litigation continued after the

first episode. This included in the Civil Rights Division participating in the first “northern” case

filed by the Department of Justice and serving for eight (8) months as lead, line attorney in

representing the United States in the Alabama statewide school desegregation case, Lee v. Macon

County Board of Education. Post-Civil Rights Division, Mr. Pressman participated in the Boston

school desegregation case and the Mississippi higher education (Ayers), each for many thousands

of hours.

       20.     If Mr. Pressman is able to be present for the hearing, his role would have included:

working closely with Mr. Porter; some questioning of witnesses; and making some arguments.

       21.     In the past, during status conferences, the Court has allowed Mr. Pressman to listen

to the hearing on the telephone and, from time-to-time, to speak.

       22.     It is Intervenors’ understanding that the Court does not normally allow this form of

participation during the category of a trial, in this case a trial to determine unitary status of the

Pulaski County Special School District and the Jacksonville North/Pulaski School District to

commence on July 14, 2020. However, these are not normal times.

       23.     In view of the health emergency that has been created by the COVID-19 pandemic,

and case needs cited, Intervenors respectfully request that the Court allow the following:

       a)      Robert Pressman to participate via telephone conference;

       b)      Robert Pressman to participate via Zoom teleconference (if available);

       c)      or by any other agreed upon remote means.



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       24.     Undersigned counsel mentioned the filing of this motion with opposing, who did

not state a position regarding this motion.

       THEREFORE, the Intervenors request that their motion be granted, and for all other just

and proper relief.



                                              Respectfully submitted,

                                              Austin Porter Jr., No. 86145
                                              PORTER LAW FIRM
                                              323 Center Street, Suite 1035
                                              Little Rock, Arkansas 72201
                                              Telephone: 501-244-8200
                                              Facsimile: 501-372-5567
                                              Email: aporte5640@aol.com

                                              Robert Pressman
                                              22 Locust Avenue
                                              Lexington, MA 02421
                                              Telephone: 781-862-1955
                                              Email: pressmanrp@gmail.com
                                              Shawn G. Childs
                                              Lawrence A. Walker
                                              JOHN W. WALKER, P.A.
                                              1723 S. Broadway
                                              Little Rock, Arkansas 72206
                                              Telephone: 501-374-3758
                                              Facsimile: 501-374-4187

                                              johnwalkeratty@aol.com
                                              schilds@gabrielmail.com
                                              lwalker@jwwlawfirm.com

                                              ATTORNEYS FOR INTERVENORS




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                                CERTIFICATE OF SERVICE

        I, Austin Porter Jr., do hereby certify that a copy of the foregoing pleading was
electronically filed with the Clerk of the United States District Court for the Eastern District of
Arkansas, on this 25th day of June 2020, by using the CM/ECF system, which is designed to send
notification of such filing to the following person:

M. Samuel Jones III.                                 Scott P. Richardson
Devin R. Bates                                       McDaniel, Richardson & Calhoun
MITCHELL, WILLIAMS, SELIG,                           1020 West 4th Street, Suite 410
GATES & WOODYARD, PLLC                               Little Rock, Arkansas 72201
425 West Capitol Avenue, Suite 1800
Little Rock, Arkansas 72201                          scott@mrcfirm.com

sjones@mwlaw.com
dbates@mwlaw.com
Jay Bequette
Bequette, Billingsley & Kees, P.A.
Attorneys at Law
425 West Capitol Avenue, Suite 3200
Little Rock, Arkansas 72201-3469

jbequette@bbpalaw.com


                                                     Austin Porter Jr.




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